Case: 4:97-cr-00141-ERW Doc. #: 662 Filed: 12/20/06 Page: 1 of 2 PagelD #: 100

United States Court of Appeals
For The Eighth Circuit

Thomas F, Eagleton U.S. Courthouse
111 South [Oth Street, Room 24.329

St. Louis, Missouri 63102
. VOICE (314) 244-2400
Michae) Be Gans FAX (314) 244-2780
erk of Cou www.ca8.uscourts.gov

MEMORANDUM
TO: Mr. James G. Woodward
FROM: Michael E. Gans, Clerk of Court
DATE: December 20, 2006
RE: 98-2549 United States v. Billie Jerome Allen

District Court/Agency Case Number(s): 4:97-CR-141(ERW)

 

Enclosed is a letter received from the United States Supreme Court stating that an order
has been filed denying certiorari in the above case.

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Case: 4:97-cr-00141-ERW Doc. #: 662 Filed: 12/20/06 Page: 2 of 2 PagelD #: 101

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Supreme Court of the United States
Office of the Clerk

at cel ‘4 0 Washington, DC 20543-0001
ay MP Ye Kee
pes 4 0 200 December 11, 2006 (202) 479-3011

apStey erk :*
United States Court of Appeals for the Eighth
Circuit
Thomas F. Eagleton Courthouse
1115S. 10th Street, Rm. 24329
St. Louis, MO 63102

Re: Billie Jerome Allen
v. United States
No. 05-6764
(Your No. 98-2549)
Dear Clerk:

The Court today entered the following order in the above-entitled case:

The petition for a writ of certiorari is denied.

Sincerely,

Ubon dul

William K. Suter, Clerk

RECEIVE,

DEC 19 2006

US. COURT OF APPEA) ¢
EIGHTH CIRCUT
